Case 2:18-cv-00810-MWF-GJS Document 19 Filed 05/25/18 Page 1 of 3 Page ID #:66


                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES—GENERAL

 Case No. CV 18-810-MWF (GJSx)                      Date: May 25, 2018
 Title:   Jesse Graham v. Taylor Swift, et al.     JS-6

 Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

           Deputy Clerk:                            Court Reporter:
           Rita Sanchez                             Not Reported

           Attorneys Present for Plaintiff:         Attorneys Present for Defendant:
           None Present                             None Present

 Proceedings (In Chambers):             ORDER DISMISSING CASE WITHOUT
                                        PREJUDICE

        On January 31, 2018, Plaintiff, who is pro se, commenced this copyright
 infringement action against Defendants. (Complaint, Docket No. 1). Plaintiff alleges
 that Shake it Off, a song performed by Defendant Taylor Swift, infringes upon certain
 elements of Plaintiff’s song, Haters Gone Hate. (See id.). On March 8, 2018, without
 the Clerk having previously issued any Summons, Plaintiff filed a “Proof of Service”
 indicating that he served a summons (but not his Complaint) upon “Taylor Swift and
 all concerned” by mailing (and only mailing) it to Sony ATV Music Publishing LLC
 (“Sony”) (and no other Defendants). (Docket No. 8).

        On March 22, 2018, Defendants filed a motion to dismiss, seeking dismissal of
 Plaintiff’s Complaint for insufficient process and insufficient service of process,
 pursuant to Federal Rules of Civil Procedure 12(b)(4) and 12(b)(5), respectively.

        In his opposition to Defendants’ motion, filed on March 26, 2018 (Docket No.
 13), Plaintiff acknowledged the deficiency of his service and requested more time to
 properly serve Defendants:

             I had an assistant mail proof to address but was incorrectly
             done – After visiting the pro se clinic I got instructions on
             how [to effect service]. At this time I request additional time
             to properly file documents.

 ______________________________________________________________________________
                          CIVIL MINUTES—GENERAL                              1
Case 2:18-cv-00810-MWF-GJS Document 19 Filed 05/25/18 Page 2 of 3 Page ID #:67


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       In an order dated April 16, 2018, the Court denied Defendants’ motion to
 dismiss without prejudice and directed Plaintiff to “serve each defendant with a
 Summons and Complaint and file proof of such service by no later than May 21,
 2018.” (Docket No. 17). The Court warned Plaintiff that “[f]ailure to do so will result
 in dismissal of this action without prejudice.” (Id.).

        On May 3, 2018, Plaintiff filed a proof of service (Docket No. 18) indicating that
 Plaintiff himself mailed unspecified documents to Sony (and again to no other
 Defendants) on March 30, 2018 – i.e., before the Court issued its April 16 order
 instructing Plaintiff to properly serve a Summons and Complaint upon each Defendant
 by no later than May 21, 2018.

       It is clear that Plaintiff still has not – after approximately four months – properly
 served any of the Defendants. Beyond purporting to himself (which is improper, as
 service must be made by a non-party) have mailed unspecified documents only to Sony
 (and no other Defendants), the most obvious deficiency is that Plaintiff cannot possibly
 have served a Summons upon any of the Defendants because the Clerk has yet to issue
 a Summons (because Plaintiff has yet to file a request for the Clerk to issue a
 Summons).

       Pursuant to Federal Rule of Civil Procedure 4(m), this action is DISMISSED
 without prejudice.

       IT IS SO ORDERED.

         The Court may not provide advice to any party, including persons who are not
 represented by a lawyer, known as pro se litigants. However, this District does have a
 “Pro Se Clinic” that can provide information and assistance about many aspects of civil
 litigation in this Court. The Pro Se Clinic is administered by Public Counsel, a public
 interest law firm, and it is staffed by lawyers and a paralegal. In order to benefit from
 the guidance that the Pro Se Clinic may be in a position to provide, a pro se litigant (in
 this case, Mr. Graham) has to go there directly. The Pro Se Clinic is open to members
 of the public on Mondays, Wednesdays, and Fridays, and is open from 9:30 a.m. to
 ______________________________________________________________________________
                          CIVIL MINUTES—GENERAL                              2
Case 2:18-cv-00810-MWF-GJS Document 19 Filed 05/25/18 Page 3 of 3 Page ID #:68


                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

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 12:00 p.m. (noon) and from 2:00 p.m. to 4:00 p.m. Individuals seeking assistance are
 seen on a first-come, first-served basis. The clinic is located in the United States
 Courthouse, 312 North Spring Street, Los Angeles, California, in Room G-19 (on the
 Main Street level of the courthouse).

        Although the Clinic does not provide assistance telephonically, a pro se litigant
 may call the Pro Se Clinic to obtain further information. The telephone number is
 (213) 385-2977, ext. 270. Again, the Pro Se Clinic does not provide any assistance
 over the telephone; the purpose of a telephone call would be only to get more
 information about the Clinic. In addition, the Court has information of importance to
 pro se litigants on its website, at http://court.cacd.uscourts.gov/cacd/ProSe.nsf/.

        Pro se litigants are now eligible to receive a login and password for the Court’s
 Case Management/Electronic Case Filing System (“CM/ECF”), so long as they are not
 incarcerated. Obtaining a login and password to the CM/ECF System allows pro se
 litigants to receive notification by e-mail when documents are filed in their case.
 Instructions to sign up for the CM/ECF system are available at
 https://www.cacd.uscourts.gov/e-filing/pro-se-electronic-filing.




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                          CIVIL MINUTES—GENERAL                              3
